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                                               1    LIPSON, NEILSON, COLE, SELTZER & GARIN, P.C.
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                                               2    Jessica A. Green (Bar No. 12383)
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                                               4    jgarin@lipsonneilson.com
                                               5    Attorneys for Defendant
                                               6                                 UNITED STATES DISTRICT COURT
                                               7                                      DISTRICT OF NEVADA
                                               8
                                                    LARRY BOHN,                                )     Case No.: 2:17-cv-00291-MMD-VCF
                                               9                                               )
                                                                    Plaintiff,                 )     CERTIFICATE OF INTERESTED
                                               10                                              )     PARTIES
                                                    vs,                                        )
                                               11                                              )
                                                    KINUM, INC.                                )
                                               12                                              )
Lipson, Neilson, Cole, Seltzer & Garin, P.C.
  9900 Covington Cross Drive, Suite 120




                                                                Defendant.                     )
   (702) 382-1500 – fax (702) 382-1512




                                               13   _______________________________            )
        Las Vegas, Nevada 89144




                                               14
                                               15          In accordance with Federal Rule of Civil Procedure 7.1 and U.S. District Court,

                                               16   Local Rule 7.1-1, the undersigned, counsel of record for Defendant KINUMN, INC.,

                                               17   certifies that no other parties/entities have an interest in the outcome of this case other

                                               18   than those already named as interested parties in the above-captioned matter.

                                               19          This representation is made to enable judges of the Court to evaluate possible

                                               20   disqualifications or recusal

                                               21          DATED this 26th day of May, 2017.

                                               22                                      LIPSON, NEILSON, COLE, SELTZER & GARIN, P.C.
                                               23
                                               24
                                                                                       By:
                                                                                              G                                __________
                                               25                                             Joseph P. Garin (Bar No. 6653)
                                                                                              Jessica A. Green (Bar No. 12383)
                                               26                                             9900 Covington Cross Drive, Suite 120
                                                                                              Las Vegas, Nevada 89144
                                               27
                                                                                              Attorneys for Defendant
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                                               1                                  CERTIFICATE OF SERVICE

                                               2           I HEREBY CERTIFY that on the 26th day of May, 2017, service of the foregoing

                                               3    CERTIFICATE OF INTERESTED PARTIES was made upon each party in the case

                                               4    who is registered as an electronic case filing user with the Clerk, pursuant to Fed. Rule

                                               5    Civ. P. 5(b)(3), and Local Rule 5-4, as follows:

                                               6
                                               7     Mitchell D. Gliner, Esq.
                                                     3017 W. Charleston Blvd., #95
                                               8     Las Vegas, NV 89102
                                                     mgliner@glinerlaw.com
                                               9
                                                     Attorney for Plaintiff
                                               10
                                               11
                                                                                              /s/ Kim Glad
                                               12
Lipson, Neilson, Cole, Seltzer & Garin, P.C.




                                                                                              An employee of
  9900 Covington Cross Drive, Suite 120

   (702) 382-1500 – fax (702) 382-1512




                                               13                                             Lipson, Neilson, Cole, Seltzer & Garin, P.C.
        Las Vegas, Nevada 89144




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